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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

THOMAS CRAWFORD

         Plaintiff,                                 CASE NO. 2:15-cv-2438

v.                                                  JUDGE MARBLEY

COLUMBUS STATE COMMUNITY                            MAGISTRATE JUDGE VASCURA
COLLEGE, et al.

         Defendants.

                       STIPULATION OF DISMISSAL WITH PREJUDICE

         IT IS HEREBY STIPULATED AND AGREED, by and between Plaintiff THOMAS

CRAWFORD and Defendants COLUMBUS STATE COMMUNITY COLLEGE, MICHAEL

HAILU, and LISA SCHNEIDER (collectively, the “Parties”) and the Parties’ respective counsel,

that the above-captioned action is voluntarily dismissed, with prejudice, pursuant to Fed. R. Civ.

P. 41(a)(1)(A)(ii). Except as may be provided in the Parties’ Settlement Agreement and Release

of all Claims dated May 17, 2018, each Party to bear his, her, or its own attorney’s fees and

costs.




                                                  Respectfully submitted,

                                                  MICHAEL DEWINE (0009181)
                                                  Ohio Attorney General

/s/ Michael Garth Moore                           /s/ Rory P. Callahan
(per email authorization 6/6/18)
                                                  RORY P. CALLAHAN (0072021)
MICHAEL GARTH MOORE (0025047)                     Trial Counsel
Trial Counsel                                     AMY RUTH ITA (0074520)
                                                  Principal Assistant Attorneys General
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